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 3
     Attorneys for Defendant
 4
     Stanislov Carpenco
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               ) Case No.: 2:15 CR 197 MCE
     UNITED STATES OF AMERICA,                   )
10                                               ) STIPULATION AND [PROPOSED]
                    Plaintiff,                   ) ORDER TO TERMINATE PRE-TRIAL
11                                               ) SUPERVISION
            v.                                   )
12                                               ) Hon. Edmund f. Brennan
     STANISLOV CARPENCO,                         )
13                                               )
                    Defendant.                   )
14
15
            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
16
17   Attorney, through Paul Hemesath, Assistant United States, attorney for Plaintiff, and

18   Michael Chastaine, attorney for Stanislov Carpenco, that Mr. Carpenco’s pre-trial
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     supervision should be terminated and that he should remain out of custody on the
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     presently set $50,000 unsecured appearance bond. (Doc. Nos. 14 and 21.) As a condition
21
22   of his pretrial release, Mr. Carpenco shall comply with all federal, state and local laws.
23
            Pretrial Services indicates that Mr. Carpenco has done extremely well on
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     supervision including continuing his education and doing an internship. Mr. Carpenco
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26   earned four (4) associates degrees while on supervision and has been accepted in to
27   several top universities. Based on the foregoing, the parties stipulate that Mr. Carpenco’s
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     pre-trial supervision should be terminated, he be ordered released on the presently set
 1
 2   $50,000 unsecured appearance bond, and that special condition number seven of his
 3
     conditions of pre-trial release regarding his passport (Doc. 21) should remain in effect.
 4
                                                The Chastaine Law Office
 5
 6   Dated: June 7, 2018                        /s/ Michael Chastaine
                                                MICHAEL CHASTAINE
 7                                              Attorney for Stanislov Carpenco
 8
 9   Dated: June 7, 2018                        MCGREGOR W. SCOTT
10                                              United States Attorney

11
12                                              /s/ Paul Hemesath
                                                PAUL HEMESATH
13                                              Assistant United States Attorney
14                                              Attorney for Plaintiff

15
16                                             ORDER

17          IT IS HEREBY ORDERED, the Court, having received, read, and considered the
18
     Parities’ stipulation, that Stanislov Carpenco’s pre-trial supervision be terminated, he be
19
     ordered remain released on the presently set $50,000 unsecured appearance bond, and
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21   that special condition number seven of his conditions of pre-trial release, concerning his
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     passport, shall remain in effect. As a condition of his pretrial release, Mr. Carpenco shall
23
     comply with all federal, state, and local laws.
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25   Dated: June 8, 2018                        _____________________________
                                                HON. EDMUND F. BRENNAN
26
                                                United States Magistrate Judge
27
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